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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    In re:                                                     Chapter 11

                                                               Case No. 20-33948 (MI)
    FIELDWOOD ENERGY LLC, et al.,
                                                               (Jointly Administered)
                                   Debtors.1



                            SUPPLEMENTAL AFFIDAVIT OF SERVICE

        I, Nathan Chien, depose and say that I am employed by Prime Clerk LLC (“Prime Clerk”),
the claims, noticing, and solicitation agent for the Debtors in the above-captioned chapter 11 cases.

       On February 12, 2021, at my direction and under my supervision, employees of Prime
Clerk caused the following documents to be served via first class mail on the El Paso Production
Oil and Gas Company (MMLID: 12563377), 1001 Louisiana Street, Suite 2731B, Houston, TX
77002; EP Operating Company LP (MMLID: 12563378), 6 Desta Drive, Suite 5250, Midland, TX
79705; Hunt Chieftain Development, L.P. (MMLID: 12563374), 1900 North Akard Street, Dallas,
TX 75201, Petrobas America Inc (MMLID: 12563381), 10350 Richmond Ave., Houston, TX
77042:

      •      Notice of Hearing to Consider Approval of Disclosure Statement for Debtors’ Joint Plan
             of Reorganization Under Chapter 11 of the Bankruptcy Code [Docket No. 733]

      •      Notice of Adjournment of Hearing to Approve Disclosure Statement [Docket No. 815]




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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107);
Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
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Dated: February 16, 2021
                                                         /s/ Nathan Chien
                                                         Nathan Chien
State of New York
County of New York

Subscribed and sworn to (or affirmed) to me on February 16, 2021, by Nathan Chien, proved to
me on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ JAMES A. MAPPLETHORPE
Notary Public, State of New York
No. 01MA6370846
Qualified in New York County
Commission Expires February 12, 2022




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                                                                                   SRF 50996
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